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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 20-43 JVS (ADSx)                                        Date   June 3, 2020
 Title             Bureau of Consumer Financial Protection v. Chou Team Realty LLC et
                   al


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Motion to Dismiss

       Pursuant to Federal Rules of Civil Procedure 12(b)(7) and 19, Defendant Jawad
Nesheiwat (“Nesheiwat”) moves for an order directing the Consumer Financial
Protection Bureau’s (“the Bureau”) to amend its Complaint to add necessary parties, or in
the alternative, for dismissal of the Complaint. Mot., Dkt. No. 56. The Bureau opposed.
Opp’n, Dkt. No. 77. Nesheiwat replied. Reply, Dkt. No. 79.

         For the following reasons, the Court DENIES the motion.

                                                    I. BACKGROUND

      This case concerns conduct by companies and individuals in connection with
providing debt-relief services to consumers with student loans. Complaint, Dkt. No. 1 ¶
3. A mortgage company, Monster Loans1, and a sham entity, Lend Tech, unlawfully
obtained consumer reports from the consumer-reporting agency Experian and then
provided the reports to other companies. Id. ¶ 4.

      In direct-mailings and in telemarketing-sales calls, certain of these debt-relief
companies made false representations to consumers that: (1) the consumers would obtain
lower interest rates by consolidating their federal student loans, (2) the consumers would
improve their credit scores by consolidating their loans, and (3) the United States
Department of Education would become the “new servicer” on their loans. Id. ¶ 5.

         1
         Chou Team Realty, LLC and Chou Team Realty, Inc. have held themselves out as doing
business as Monster Loans. Id. ¶ 13.
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Several of these companies also unlawfully charged and collected advance fees. Id. ¶ 6.

      Nesheiwat was the chief operating officer of Monster Loans between January 2015
and April 2017. Id. ¶ 35. Nesheiwat exercised substantial managerial responsibility for
and control over Monster Loans’ business practices. Id. Nesheiwat was a limited
partner in five associated companies that offered debt-relief services to consumers with
student loans (the “Student Loan Debt Relief Companies”). Id. ¶ 36. He oversaw
Monster Loan’s purchase of pre-screened lists from Experian for use by the Student Loan
Debt Relief Companies in their direct mailings. Id. ¶ 60. Nesheiwat also exercised
substantial managerial responsibility and control over one of the companies—Docu Prep
Center—and participated in the marketing efforts of the other four companies. Id. ¶¶ 37-
38.

      The Bureau brings 11 counts against Nesheiwat, for (1) violations of the Fair
Credit Reporting Act (FCRA), (2) collecting advance fees in violation of the
Telemarketing Sales Rule (TSR); (3) making misrepresentations in violation of the TSR
(regarding lower interest rates); (4) making misrepresentations in violation of the TSR
(regarding improved credit scores); (5) making misrepresentations in violation of the
TSR (regarding new servicer); (6) providing substantial assistance in violation of the
TSR; (7) deception in violation of the Consumer Financial Protection Act (CFPA)
(regarding lower interest rates); (8) deception in violation of the CFPA (regarding
improved credit scores); (9) deception in violation of the CFPA (regarding new
servicer); (10) providing substantial assistance in violation of the CFPA; (11) and for
CFPA violations based on violations of the FCRA and TSR. See generally, Complaint.

                                   II. LEGAL STANDARD

      Rule 12(b)(7) authorizes district courts to dismiss complaints for failure to join an
indispensable party under Rule 19. Fed. R. Civ. P. 12(b)(7).

       Rule 19 “provides a three-step process for determining whether the court should
dismiss an action for failure to join a purportedly indispensable party.” United States v.
Bowen, 172 F.3d 682, 688 (9th Cir. 1999). First, the court must determine whether the
absent party is “necessary.” Id. (citing Fed. R. Civ. P. 19(a)). Second, if the absent party
is “necessary,” the court must determine whether joinder is “feasible.” Id. (citing Fed. R.
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Civ. P. 19(a),(b)). Third, if joinder is not “feasible,” the court must determine whether
the absent party is “indispensable,” i.e., whether in “equity and good conscience” the
action can continue without the party. Id. (citing Fed. R. Civ. P. 19(b)). If joinder is not
feasible and the absent party is indispensable, the court must dismiss the action.

       The Court may consider testimony to resolve the motion under Rule 12(b)(7). “In
ruling on a dismissal for lack of joinder of an indispensable party, a court may go outside
the pleadings and look to extrinsic evidence.” Davis Cos. v. Emerald Casino, Inc., 268
F.3d 477, 480 (7th Cir. 2001). The Court “has a duty to protect absent persons who will
be affected by [its] decree”; thus, the inquiry into whether such persons exist “should not
be hampered by the evidentiary rules [Plaintiffs] would impose.” McShan v. Sherrill,
283 F.2d 462, 464 (9th Cir. 1960) (considering affidavits over non-moving party’s
objection). Moreover, “evidence concerning absent indispensable parties may also be
presented by the affidavit of any person having knowledge bearing upon their existence.”
Id.

                                     III. DISCUSSION

       Nesheiwat argues that the case should not proceed without Desiree Hoose
(“Hoose”) and Tax Time Relief, Inc. dba Monster Tax Relief (“Monster Tax”) as
defendants in this action pursuant to Rule 19(a). Alternatively, he asks the Court to
dismiss the Complaint against him pursuant to Rule 12(b)(7), based on the Bureau’s
failure to join these allegedly necessary parties. See generally, Mot., Dkt. No. 56.

A.       Nesheiwat’s Request for Judicial Notice

      Nesheiwat requests that the Court take judicial notice of the following: (1) the
Complaint in this action, (2) the Articles of Incorporation for Tax Time Relief, Inc., filed
March 8, 2016, (3) the Statement of Information for Tax Time Relief, Inc., filed January
13, 2017, and (4) the Fictitious Business Name Statement for Tax Time Relief, Inc. d/b/a
Monster Tax Relief, recorded on March 20, 2016. RJN, Dkt. No. 56-10.

      Under Federal Rule of Evidence 201, the Court may take judicial notice of matters
of public record if the facts are not “subject to reasonable dispute.” Lee v. City of Los
Angeles, 250 F.3d 668, 688-89 (9th Cir. 2001); see Fed. R. Evid. 201(b). The Court
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takes judicial notice of the documents in the RJN pursuant to Fed. R. Evid. 201. All of
the documents in the RJN contain facts that “can be accurately and readily determined
from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2).

B.       The Bureau Has Discretion in Deciding Which Parties to Join in its
         Enforcement Action

       First, the Court is persuaded by the Bureau’s argument that it possesses broad
discretion in deciding whom to sue in this action, and that Rule 19 is not the appropriate
vehicle to force the Bureau to name parties it declined to include in its Complaint. See
Opp’n at 4-5.

       An agency’s decision not to bring an enforcement action against a person or entity
is “presumed immune from judicial review.” Heckler v. Chaney, 470 U.S. 821, 831
(1985). Accordingly, “courts have generally concluded that defendants cannot employ
Rule 19 to force the [agency] to sue other parties or face dismissal in enforcement
actions.” SEC v. Norstra Energy Inc., 2016 WL 4530893, at *1 (S.D.N.Y. Jan. 19, 2016)
(collecting cases). Nesheiwat “may not circumvent the exercise of agency discretion
through compulsory joinder rules.” SEC v. Princeton Econ. Int’l, 2001 WL 102333, at
*1 (S.D.N.Y. Feb. 7, 2001). Nesheiwat does not meaningfully distinguish this cases or
even address them. See Reply, Dkt. No. 79.

C.       Desiree Hoose and Monster Tax Are Not Necessary Parties

      Even if Rule 19 permitted Nesheiwat to seek compulsory joinder or dismissal in
this Bureau enforcement action, Hoose and Monster Tax would not be required parties.

      Nesheiwat generally argues that Monster Tax and Monster Loans “are one in the
same, albeit two separate legal entities, with the same goal in mind.” Mot. at 11. Desiree
Hoose is Monster Tax’s chief executive officer.2 Id.; see Dkt. No. 56-6, Ex. 5.
According to Nesheiwat, “the relief sought by the Bureau cannot be complete in the
absence of Desiree Hoose and Monster Tax, as they are integral and necessary

         2
        Hoose’s husband, Robert Hoose, is a defendant in the action, based on his involvement with
Docu Prep Center. See Complaint ¶ 43.
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components of the unlawful enterprise the Bureau alleges in the Complaint.” Id. at 12;
see Fed. R. Civ. P 19(a)(1)(A).

       In support of this argument, he suggests that Monster Loans and Monster Tax
used the same allegedly unlawfully obtained consumer report information to market
their tax debt relief services. Although he admits that services the two entities offered
were “different,” “the source of consumer information upon which such services were
provided was the same.” Id. at 13. In particular, Nesheiwat suggests that Hoose and
Monster Tax committed some of the same FCRA and TSR violations that the Bureau
alleges he committed. Id. at 13-16. Accordingly, Nesheiwat argues that the Bureau
cannot obtain complete relief in the absence of these parties. Id.

       The Court finds that Nesheiwat has not met his burden of showing that Hoose
and Monster Tax are required parties under Rule 19 or that the Court should dismiss
him from the action. See, e.g., FTC v. Commerce Planet, Inc., 2010 WL 11673795, at
*3 (C.D. Cal. 2010) (“the FTC is not required to bring enforcement actions against all
entities involved with an allegedly unfair or deceptive practice,” and if the defendant is
liable, “the Court can clearly accord complete relief among the existing parties.”). The
Court may award the Bureau’s requested relief against Nesheiwat regardless of Hoose
and Monster Tax’s presence as defendants; Nesheiwat has not provided evidence to the
contrary, and does not seriously contest this issue.

                                    IV. CONCLUSION

       For the foregoing reasons, the Court DENIES the motion. The Court finds that
oral argument would not be helpful in this matter and vacates the June 8, 2020 hearing.
Fed. R. Civ. P. 78; L.R. 7-15.

                 IT IS SO ORDERED.




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